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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

TIMOTHY WAYNE CAPERS, SR.,                    )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )   CIVIL ACTION NO. 2:20-CV-945-WHA-JTA
                                              )
THOMAS HUGGHINS, et al.,                      )
                                              )
       Defendants.                            )

                                              ORDER

       On December 14, 2020, the Magistrate Judge filed a Recommendation to which no timely

objection has been filed. Doc. 6. There being no objection filed to the Recommendation, and after

an independent review of the file, the court concludes the Magistrate Judge’s Recommendation

should be adopted. Accordingly, it is ORDERED that:

       1. The Recommendation of the Magistrate Judge (Doc. 6) is ADOPTED.

       2. Plaintiff’s § 1983 claim against Defendant Zigglar is DISMISSED with prejudice under

28 U.S.C. §1915A(b)(1).

       3. Defendant Zigglar is TERMINATED as party to this action prior to service of process.

       The Clerk of the Court is DIRECTED to enter this document on the civil docket as a final

judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure as to Defendant Zigglar.

       This case is not closed and is referred to the United States Magistrate Judge for further

proceedings regarding Plaintiff’s claims against the remaining defendants.

       Done, this 12th day of January 2021.

                                              /s/ W. Harold Albritton
                                              W. HAROLD ALBRITTON
                                              SENIOR UNITED STATES DISTRICT JUDGE
